   Case 2:16-cr-00091-SSV-JCW    Document 87    Filed 08/16/16     Page 1 of 2



                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                CRIMINAL ACTION

VERSUS                                                  NUMBER 16-091

DANIELLE DENISE TAYLOR                                  SECTION:       “N”(5)



                          ORDER AND REASONS

     Defendant   Taylor     requests     appointment      of     new    counsel,

alleging   dissatisfaction      with   her    current    counsel.         Record

Document Number 86.      That dissatisfaction arises from her belief

that counsel was ill-prepared and/or gave bad advice during a

recent hearing before us.


     To extent Ms. Taylor’s request is a motion for new counsel

that motion is DENIED.


     Ms.   Taylor’s    basis    for    this   request    is    misplaced         and

incorrect.   In addition to demonstrating effective professional

service during that hearing, her attorney also submitted a very

well-written motion on Taylor’s behalf that caused this Court to

reconsider its position on the pretrial release condition relative

to mental health information.          While that consideration remains

intact, the motion and oral argument provided us an opportunity to

clarify the process for release of information that defendant

agreed with at the 5A initial appearance hearing and the subject
    Case 2:16-cr-00091-SSV-JCW    Document 87   Filed 08/16/16   Page 2 of 2



hearing.   Her attorney’s work in that regards proved beneficial to

Ms. Taylor and this Court. For that Ms. Taylor should be grateful.


      Accordingly,    the   request    for   new   appointed     counsel       is

dismissed as unfounded.1


      New Orleans, Louisiana, this 15th day of August, 2016.




                              ___________________________________
                              SENIOR UNITED STATES DISTRICT JUDGE




1 Mere dissatisfaction with and erroneous conclusions with current counsel’s
conduct does not warrant discharge of counsel found to be competent.
Strickland v. Washington, 466 U.S. 668; 104 S.Ct. 2052; 80 L. Ed. 2d 674;
(1984)
